              Case: 23-1354    Document: 78     Page: 1   Filed: 02/04/2025



                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                                717 MADISON PLACE, N.W.
                                WASHINGTON, D.C. 20439
JARRETT B. PERLOW                                                         CLERK’S OFFICE
 CLERK OF COURT                                                            202-275-8000

                                   February 4, 2025


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  Re:    Honeywell International Inc. v. 3G Licensing, S.A.
         Appeal No. 23-1354

  Dear Counsel:

        The court invites a response from Appellants to the combined petition for
  panel rehearing and rehearing en banc filed by Appellee in this matter.

         Please file the response in accordance with Federal Circuit Rule 40 on or
  before February 18, 2025.

                                               Very truly yours,

                                               /s/ Jarrett B. Perlow
                                               Jarrett B. Perlow
                                               Clerk of Court
                                               By: M. Hull

  cc:    Timothy Devlin
